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      12
                             UNITED STATES DISTRICT COURT
      13                    CENTRAL DISTRICT OF CALIFORNIA
      14

      15      UNITED STATES OF AMERICA ex.       Case No.2:17-cv-04393-RGK-KS
      16
              rel. ISLAND INDUSTRIES,INC.,
                                                 JURY INSTRUCTIONS
      17                 Plaintiff,
                                                 Judge:                Hon. R. Gary Klausner
      18          v.                             Trial Date:           September 28, 2021
     19                                          Courtroom:            850
              VANDEWATER INTERNATIONAL,
                                                 Time:                 9:00 a.m.
     20       INC., et al.,
     21                  Defendant(s).
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            1
                                    COURT'S INSTRUCTION NO.
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            3
                  Members ofthe Jury: Now that you have heard all ofthe evidence [and the
         4
                 arguments of the attorneys], it is my duty to instruct you on the law that applies to
            SI
                 this case.
         6I
         ~~
                 A copy of these instructions will be sent to the jury room for you to consult
         8
                 during your deliberations.
         9
        10
                 It is your duty to find the facts from all the evidence in the case. To those facts
        11
                 you will apply the law as I give it to you. You must follow the law as I give it to
        12
                 you whether you agree with it or not. And you must not be influenced by any
        13
                 personal likes or dislikes, opinions, prejudices, or sympathy. That means that you
        14
                 must decide the case solely on the evidence before you. You will recall that you
        15
                 took an oath to do so.
        16
       17
                'Please do not read into these instructions or anything that I may say or do or have
       18
                 said or done that I have an opinion regarding the evidence or what your verdict
       19
                should be.
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           1
                             COURT'S INSTRUCTION NO.
        2
        3 The evidence you are to consider in deciding what the facts are consists of:
        4        1.    the sworn testimony of any witness;
        5        2.    the exhibits that are admitted into evidence;
        6        3.    any facts to which the lawyers have agreed; and
        7        4.    any facts that I instruct you to accept as proved.
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            1
                                    COURT'S INSTRUCTION NO.
            2
            3 In reaching your verdict, you may consider only the testimony and e~ibit
                                                                                       s receiv   ed
           4 into evidence. Certain things are not evidence, and you may not
                                                                             consider them in
           5 deciding what the facts are. I will list them for you:
         6
         7         (1)     Arguments and statements by lawyers are not evidence. The lawyers are
         8                 not witnesses. What they say in their opening statements, closing
        9                  arguments and at other times is intended to help you interpret the
        10                 evidence, but it is not evidence. If the facts as you remember
        11                 them differ from the way the lawyers have stated them, your memory
       12                  ofthem controls.
       13          (2)     Questions and objections by lawyers are not evidence. Attorneys have
       14                 a duty to their clients to object when they believe a question is improper
       15                 under the rules of evidence. You should not be influenced by the
       16                 objection or by the court's ruling on it.
       17          (3)    Testimony that is excluded or stricken, or that you have been
       18                 instructed to disregard, is not evidence and must not be considered. In
       19                 addition some evidence was received only for a limited purpose;
       20                 when I have instructed you to consider certain evidence only for a
       21                 limited purpose, you must do so and you may not consider that
                                                                                                    ~
       22                 evidence for any other purpose.
       23         (4)     Anything you may have seen or heard when the court was not in
      24                  session is not evidence. You are to decide the case solely on the
      25                  evidence received at the trial.
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            1
                                    COURT'S INSTRUCTION NO.
           2
           3
                Evidence ma.y be direct or circumstantial. Direct evidence is direct proof of a fact,
         4
                such as testimony by a witness about what that witness personally saw or heard or
         5
                did. Circumstantial evidence is proofofone or more facts from which you could find
         6
                  another fact. You should consider both kinds of evidence. The law makes no
         7
                ~ distinction between the weight to be given to either direct or circumstantial evidence.
        8
                ~ It is for you to decide how much weight to give to any evidence.
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                                                                      l
            11
                              COURT'S INSTRUCTION NO.
            2.
         3
           There are rules of evidence that control what can be received into evidence. When
         4
           a lawyer asks a question or offers an exhibit into evidence and a lawyer on the other
         5
           side thinks that it is not permitted by the rules of evidence, that lawyer may object.
         6
           IfI ovemtle the objection, the question may be answered or the exhibit received. If
         7
           I sustain the objection, the question cannot be answered, and the exhibit cannot be
         8
           received. Whenever I sustain an objection to a question, you must ignore the
         9
           question and must not guess what the answer might have been.
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           1
                                   COURT'S INSTRUCTION NO.                  ~D
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           3
               In deciding the facts in this case, you may have to decide which testimony to believe
         4
               and which testimony not to believe. You may believe everything a witness says, or
         5
               part of it, or none of it.
         6
         7
               In considering the testimony ofany witness, you may take into account:
         8
        9
                    (1)      the opportunity and ability of the witness to see or hear or know the
       10
                             things testified to;
       11
                    (2)      the witness's memory;
       12
                    (3)      the wihiess's manner while testifying;
       13
       14           (4)      the witness's interest in the outcome ofthe case, if any;

       15           (5)      the witness's bias or prejudice, if any;

       16           (6)      whether other evidence contradicted the witness's testimony;

       17           (7)     the reasonableness of the witness's testimony in light of all the
       18                   evidence; and
       19           (8)     any other factors that bear on believability.
       20
       21 The weight of the evidence as to a fact does not necessarily depend on the number
      22 of witnesses who testify. What is important is how believable the witnesses
                                                                                     were,
      23 and how much weight you think their testimony deserves.
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            1
                                   COURT'S INSTRUCTION NO.
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           3
                      You have heard testimony from expert witnesses who testified to opinions
           4
                and the reasons for those opinions. This opinion testimony is allowed, because of
           5
                the education or experience ofthis witness.
         6~
         7
                      Such opinion testimony should be judged like any other testimony. You may
         8
                accept it or reject it, and give it as much weight as you think it deserves, considering
         9
                the witness's education and experience, the reasons given for the opinion,and all the
        10
                other evidence in the case.
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Case 2:17-cv-04393-RGK-KS Document 423 Filed 10/07/21 Page 9 of 23 Page ID #:14589




            1
                                  COURT'S INSTRUCTION NO.
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           3
                Under the law, a corporation is considered to be a person. It can only act through its
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                employees, agents, directors, or officers. Therefore, a corporation is responsible for
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                the acts of its employees, agents, directors, and officers performed within the scope
        6
                of authority.
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Case 2:17-cv-04393-RGK-KS Document 423 Filed 10/07/21 Page 10 of 23 Page ID
                                #:14590




        1                   COURT'S INSTRUCTION NO.
        2
        3 To help you follow the evidence,I will give you a briefsummary ofthe positions of
     4 the parties:
     5
     6 ' Plaintiff Island asserts, that Defendant Sigma Corporation: (i) imported Chinese
     7 Welded Outlets into the United States that were subject to the antidumping duty
     8 order~on butt-weld pipe fittings from the People's Republic of China; (ii)
     9 knew, deliberately ignored, or recklessly disregarded that these Chinese Welded
    10 Outlets were subject to this antidumping duty order; and (iii) falsely described the
    1 1 products and falsely stated that they were not subject to any antidumping duty
    12 order. Plaintiff has the burden of proving these claims by the preponderance ofthe
    13 evidence.
    14
    15 Defendant denies that it knowingly made any false statements or that it
    16 knowingly failed to pay any duties that were owed.
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         1                 COURT'S INSTRUCTION NO.              ~~
        2
            When a party has the burden of proving any claim by a preponderanc
        3                                                                        e of the
        4 evidence, it means you must be persuaded by the evidence that the claim is more
          I probably true than not true.
        5
        6
      7 You should base your decision on all of the evidence, regardless of which party
      8 presented it.
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Case 2:17-cv-04393-RGK-KS Document 423 Filed 10/07/21 Page 12 of 23 Page ID
                                #:14592



         1~
                                COURT'S INSTRUCTION NO.
        2
        3
              The False Claims Act prohibits a defendant from knowingly making false
        4
              statements to avoid an obligation to pay money to the Government.
        5
        6
              For you to find the Defendant liable under the False Claims Act, Plaint
                                                                                      iff must
        7
              show by the preponderance ofthe evidence the following:
        8
        9
                 1. First, the Defendant made a false statement;
     10
     11
     12         2. Second, the statement was material,

     13
                3. Third, the Defendant acted with the required knowledge,that is,
     14                                                                              the
    15             Defendant made the statement while having actual knowledge ofthe

    16             information, or acting in deliberate ignorance or reckless disregard
                                                                                          ofits truth
    17             or falsity; and

    18
    19          4. Fourth, the false statement caused the government to forfei
                                                                               t mone   y that was
    20             due.

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Case 2:17-cv-04393-RGK-KS Document 423 Filed 10/07/21 Page 13 of 23 Page ID
                                #:14593



        1
                               COURT'S INSTRUCTION NO.                  IZ
        2
        3
             A statement is "false" if it is an assertion that is untrue when it is made.
        4
        5
             The Department of Commerce has ruled that Chinese welded outlets are subject to
     6
             antidumping duties and are within the scope of the 1992 antidumping duty order
     7
            (the "China Order"}. Accordingly, I instruct you that the Defendant's statements
     8
            that its welded outlets were not subject to antidumping duties were false.
     9
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Case 2:17-cv-04393-RGK-KS Document 423 Filed 10/07/21 Page 14 of 23 Page ID
                                #:14594



        1
                              COURT'S INSTRUCTION NO.
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        3
            A statement is "material" if it has a natural tendency to influence, or be capable of
     4
            influencing, the payment or receipt of money.
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        1
                             COURT'S INSTRUCTION NO.
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      3
            For purposes of this False Claims Act case, the Defendant must have
     4
            acted with the required knowledge. The Defendant acted with the required
     5
            knowledge if the Plaintiff proves one ofthe following:
     6
     7           1. The Defendant had actual knowledge of the information; or
     8
     9           2. The Defendant acted in deliberate ignorance of the truth or falsity.of the
    10              information; or
    11
    12           3. The Defendant acted in reckless disregard of the truth or falsity of the
    13              information.
    14
    15 It is not necessary for Plaintiffto prove that the Defendant acted with actual intent.
    16
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                                #:14596



       1
                                 COURT'S INSTRUCTION NO.
                                                       .~5_
       2

       3
                   If you find that Plaintiff has proven~each ofthe elements that it must establish
       4 ~
             to prove a False Claims Act violation by the Defendant, you must then consid
                                                                                          er
       s
             the Defendant's "affirmative defense," which the Defendant has the burden
                                                                                         to
      6
             prove by a preponderance ofthe evidence.
      7

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       1
                                 COURT'S INSTRUCTION NO. ~ ~°
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      3
      4
            The Defendant contends that the Plaintiffs claims for violations that occurred before
      5
            June 13, 2011 are barred by a law that requires a plaintiff to bring a lawsuit within
      6                                                                                           a
            specified period. To prevail on this defense, Defendant must prove, by
      7                                                                                   a
            preponderance of the evidence, that the government reasonably should have known
      8
           j about the Defendant's pre-June 13,2011 conduct before June 13,2014.
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                                   COURT'S INSTRUCTION NO.
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       3
                  It is the duty of the Court to instruct you about the measure of damages.
                                                                                            By
       4
         ~ instructing you on damages, the Court does not mean to suggest for which
                                                                                          party
       5
               your verdict should be rendered.
      6

      7
                     If you find for the Plaintiff, you must determine the amount of damages.
                                                                                              The
      8
               Plaintiff has the burden of proving damages by a preponderance of the
                                                                                         evidence.
      9
               The measure of damages is the difference between what the government
                                                                                    received
   to
               and what the government would have received if Defendant's statem
                                                                                  ents were
  11
               truthful.
  12

  13
                    It is for you to determine what damages,if any, have been proved.
  14

  15
           ~ Your award must be based upon evidence and not upon specula
  16
                                                                         tion,
     ~ guesswork, or conjecture.
  17

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                               COURT'S INSTRUCTION NO.


             Before you begin your deliberations, elect one member ofthe jury as your presiding
             juror. The presiding juror will preside over the deliberations and serve as the
             spokesperson for the jury in court.


             You shall diligently strive to reach agreement with all of the other jurors if you can
             io so. Your verdict must be unanimous.

        10
             Each of you must decide the case for yourself, but you should do so only after you
        11
           Zave considered all of the evidence, discussed it fully with the other jurors, and
        12
           !.istened to their views.
        13
        14
    15 [t is important that you attempt to reach a unanimous verdict but, of course, only if
    16 each of you can do so after having made your own conscientious decision. Do not
    17 ~e unwilling to change your opinion ifthe discussion persuades you that you should.
    18 But do not come to a decision simply because otherjurors think it is right, or change
    19 ~n honest beliefabout the weight and effect ofthe evidence simply to reach a verdict.
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         1
                                  COURT'S INSTRUCTION NO.                ~ (~~
        2
        3
             Because you must base your verdict only on the evidence received in the case and on
        4
             these instructions, I remind you that you must not be exposed to any other
        5
             information about the case or to the issues it involves. Except for discussing the case
        6
             with your fellow jurors during your deliberations:
        7
     8
                   Do not communicate with anyone in any way and do not let anyone else
     9,
                   communicate with you in any way about the merits of the case or
    l0l
                   anything to do with it. This applies to communicating with your
    11 ~
                   family members, your employer, and the people involved in the
    12
    13             trial. If you are asked or approached in any way about your jury

    14            service or anything about this case, you must respond that you

    15            have been ordered not to discuss the matter and to report the contact

    16            to the court.

    17
    18            Do not do any research, such as consulting dictionaries, search
                                                                                  ing the
    19            Internet, or using other reference materials; and do not make
                                                                                     any
    20            investigation or in any other way try to learn about the case on
                                                                                    your
   21             own. Do not visit or view any place discussed in this case, and
                                                                                  do not
   22             use Internet programs or other devices to search for or view any
                                                                                       place
   23             discussed during the trial. Also, do not do any research about
                                                                                  this
   24             case, the law, or the people involved—including the
                                                                         parties, the
   25             witnesses or the lawyers—until you have been excused as
                                                                            jurors.
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        1 A juror who violates these restric
                                             tions jeopardizes the fairness ofthese proceedings,
        2 and a mistrial could result that
                                           would require the entire trial process to start over. If
        3 any juror is expose
                                 d to any outside information, please notify the court
        4 ~ immediately.
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                                #:14602




        1
                             COURT'S INSTRUCTION NO.              ~~
     2
     3
            If it becomes necessary during. your deliberations to communicate with me, you
     4
            may send a note through the bailiff, signed by any one or more of you. No
     5
            member of the jury should ever attempt to communicate with me except by a
     6
            signed writing. I will not communicate with any member of the jury on anything
     7
            concerning the case except in writing or here in open court. If you send out a
     8
            question, I will consult with the lawyers before answering it, which may take some
     9
            time. You may continue your deliberations while waiting for the answer to any
    10
            question. Remember that you are not to tell anyone—including the courthow the
    11
             jury stands, whether in terms of vote count or otherwise, until after you have
    12
            ~ reached a unanimous verdict or have been discharged.
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                                #:14603




        1~
                             COURT'S INSTRUCTION NO.
        2~
        3
             A verdict form has been prepared for you. After you have reached unanimous
      4
             agreement on a verdict, your foreperson should complete the verdict form
      5
         according to your deliberations, sign and date it, and advise the bailiff that you
     6
       ~ are ready to return to the courtroom.
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